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8
                           UNITED STATES DISTRICT COURT
9
                         CENTRAL DISTRICT OF CALIFORNIA
10
11
                                                      Case No. 2:23-cv-9346
12
13
14   NIKE, INC.,                                      COMPLAINT FOR PATENT
                                                      INFRINGEMENT
15                      Plaintiff,
16         v.
17
     SKECHERS U.S.A., INC.,                           JURY TRIAL REQUESTED
18
                        Defendant.
19
20
21         Plaintiff Nike, Inc. (“Nike”), for its Complaint against Defendant Skechers
22   U.S.A., Inc. (“Skechers”), alleges as follows:
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                                          COMPLAINT
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1                             PRELIMINARY STATEMENT
2          1.    Nike’s Flyknit is a game-changing technology. Flyknit resulted from
3    more than a decade of Nike’s research and development, and it has been hailed as
4    “the most groundbreaking sneaker innovation in over 40 years.”1 Nike’s Flyknit
5    technology provides a novel method of designing and manufacturing shoe uppers,
6    which enables Nike to create footwear with excellent performance, design, and
7    aesthetics—all while reducing materials and waste. An early example of a Nike
8    Flyknit shoe upper is shown below.
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11
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16
17         2.    Nike has taken steps to protect its Flyknit technologies by filing and
18   obtaining patents around the world.
19         3.    Due to the success of Nike’s Flyknit, many of Nike’s competitors have
20   copied and made unauthorized use of Nike’s Flyknit technologies. Nike has enforced
21   its patents against those companies. See, e.g., Nike, Inc. v. PUMA North America,
22   Inc., Case No. 1:18-cv-10875 (D. Mass); Nike, Inc. v. adidas AG et al., Case No. 3:21-
23   cv-01780-YY (D. Oregon); In re: Certain Knitted Footwear, Inv. No. 337-TA-1289
24
25
26   1
      Carly Fink, Nike: Sustainability and Innovation through Flyknit Technology, N.Y.U.
     STERN CTR. FOR SUSTAINABLE BUS. (August 2016), available at:
27   https://www.stern.nyu.edu/sites/default/files/assets/documents/Nike_Carly_04.2017
     %20-%20Copy.pdf.
28                                           -2-
                                        COMPLAINT
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1    (U.S.I.T.C.); Nike, Inc. v. lululemon usa inc., Case No. 1:23-cv-00771-JPO
2    (S.D.N.Y.).
3           4.     Skechers has likewise used Nike’s Flyknit technologies without
4    authorization. This is not the first time Nike has enforced its patents against Skechers.
5    See Nike, Inc. v. Skechers USA, Inc., No. 16-cv-00007 (D. Or.); Nike, Inc. v. Skechers
6    USA, Inc., No. 17-cv-08509 (C.D. Cal.); Nike, Inc. v. Skechers USA, Inc., No. 19-cv-
7    08418 (C.D. Cal.); Nike, Inc. v. Skechers USA, Inc., No. 19-cv-09230 (C.D. Cal.)
8           5.      Nike brings this lawsuit to once again stop Skechers’ infringement of
9    Nike’s intellectual property and protect Nike’s hard-earned innovations in Flyknit
10   technology.
11                                       THE PARTIES
12          6.     Nike is a corporation organized under the laws of the State of Oregon with
13   a principal place of business at One Bowerman Drive, Beaverton, Oregon 97005.
14          7.     Skechers is a corporation organized under the laws of the State of
15   Delaware with a principal place of business at 228 Manhattan Beach Boulevard,
16   Manhattan Beach, California 90266.
17                              JURISDICTION AND VENUE
18          8.     This is an action for patent infringement arising under the patent laws of
19   the United States, 35 U.S.C. § 100 et seq. This Court has subject matter jurisdiction
20   pursuant to 28 U.S.C. §§ 1331 and 1338(a).
21          9.     This Court has personal jurisdiction over Skechers because Skechers has
22   its principal place of business in this District. Further, Skechers has committed, and
23   continues to commit, acts of infringement in this District, has conducted business in
24   this District, and/or has engaged in continuous and systematic activities in this
25   District.
26          10. Venue is proper in this District pursuant to 28 U.S.C. § 1400 because
27   Skechers is headquartered in this District, maintains a regular and established place
28                                             -3-
                                          COMPLAINT
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1    of business in this District, and has committed, and continues to commit, acts of
2    infringement in this District, including but not limited to making, using, offering to
3    sell, selling, and/or importing products that infringe one or more claims of Nike’s
4    patents at issue in this lawsuit.
5                                 FACTUAL BACKGROUND
6          11.    Nike’s principal business activity is the design, development and
7    worldwide marketing and selling of athletic footwear, apparel, and equipment. Nike
8    invests heavily in research, design, and development, and those efforts are key to
9    Nike’s success. Nike’s investments have led to many innovative technologies and
10   products that enhance athletic performance, reduce injury, and maximize comfort.
11   Flyknit is one example of Nike’s relentless commitment to revolutionary technology.
12         12. Relevant to this dispute, Nike owns all right, title, and interest in, and has
13   the right to sue and recover for past, present, and future infringement of, the patents
14   directed to its Flyknit technology as claimed in U.S. Patent Nos. 8,266,749,
15   9,060,562, 9,510,636, 9,730,484, 9,918,511, and 9,986,781 (collectively, the
16   “Asserted Patents”). The U.S. Patent and Trademark Office duly and legally issued
17   each of the Asserted Patents. A true and correct copy of each of the Asserted Patents
18   is attached as an exhibit to the Complaint as shown below. The Asserted Patents are
19   presumed to be valid.
20                    Patent No.                    Issue Date               Ex.
              U.S. Patent No. 8,266,749         September 18, 2012            1
21
              U.S. Patent No. 9,060,562           June 23, 2015               2
22            U.S. Patent No. 9,510,636          December 6, 2016             3
23            U.S. Patent No. 9,730,484          August 15, 2017              4
24            U.S. Patent No. 9,918,511           March 20, 2018              5
25
              U.S. Patent No. 9,986,781            June 5, 2018               6
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28                                            -4-
                                         COMPLAINT
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1          13. Nike gives the public notice of at least the asserted ’562, ’749 and ’511
2    patents by marking its products pursuant to 35 U.S.C § 287(a), including by virtually
3    marking products at http://www.nike.com/patentsvirtualmarking.
4          14. Skechers makes, uses, offers for sale, sells, and/or imports into the United
5    States products that practice the claimed inventions of the Asserted Patents.
6          15. Skechers’ products that infringe claims of the Asserted Patents include at
7    least the following styles (the “Infringing Products”): Arch Fit – Good Vibrations,
8    Arch Fit Glide-Step, Arch Fit Glide-Step – Dazzling Step, Arch Fit Refine – Freesia,
9    Cordova Classic - Sparkling Dust, Dynamight 2.0 - Pounce Back, Glide Step –
10   Sparkle, GO WALK Arch Fit – Crystal Waves, GO WALK Arch Fit – Iconic, GO
11   WALK Arch Fit Relaxed Fit: Arch Fit D’Lux – Glimmer Dust, Relaxed Fit: D'Lux
12   Walker - Let it Glow, Martha Stewart x Skechers Slip-ins: Ultra Flex 3, Relaxed Fit:
13   D’Lux Walker, Skechers Ultra Flex 3.0 – Wintek, Skech-Lite Pro, Slip-ins Work:
14   Ultra Flex 3.0 SR, Slip-ins: Arch Fit Glide-Step, Slip-ins: Arch Fit Vista – Aspiration,
15   Slip-ins: Cessnock – Gwynedd, Slip-ins: Delson 3.0 Lavell, Slip-ins: Glide-Step
16   Swift - New Thrill, Slip-ins: Glide-Step Swift – Prose, Slip-Ins: GO WALK 6 – Easy
17   On, Slip-ins: GO WALK 6 - Fabulous View, Slip-ins: GO WALK 6 - Lovely Day,
18   Slip-Ins: GO WALK 6 – Valentina, Slip-Ins: GO WALK Arch Fit – Simplicity, Slip-
19   ins: Max Cushioning – Advantageous, Slip-ins: Max Cushioning – Smooth, Slip-ins:
20   Max Cushioning AF – Fluidity, Slip-ins: On-the-Go Swift – Astounding, Slip-ins: RF
21   Bogdin – Arlett, Slip-ins: RF Reggae Fest 2.0, Slip-ins: RF: Ingram – Brackett, Slip-
22   ins: Ultra Flex 3.0 – Brilliant, Slip-Ins: Ultra Flex 3.0 - Colory Wild, Slip-ins: Ultra
23   Flex 3.0 - Cozy Streak, Slip-Ins: Ultra Flex 3.0 – Finnik, Slip-Ins: Ultra Flex 3.0 -
24   Fresh Time, Slip-ins: Ultra Flex 3.0 – New Arc, Slip-ins: Ultra Flex 3.0 - Pastel
25   Clouds, Slip-ins: Ultra Flex 3.0 - Shining Glitz, Slip-ins: Ultra Flex 3.0 - Smooth Step,
26   Slip-ins: Ultra Flex 3.0 - Sparkled Stones, Slip-ins: Virtue – Divinity, Ultra Flex –
27   Harmonious, Ultra Flex 3.0 – Big Plan, Ultra Flex 3.0 – Classy Charm, Ultra Flex 3.0
28                                            -5-
                                         COMPLAINT
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1    – Let’s Dance, Ultra Flex 3.0 – Wintek, Virtue – Twilight, and Vapor Foam - True
2    Classic styles. Representative examples of the Infringing Products are shown below.
3           Martha Stewart x Skechers Slip-          Slip-ins: Max Cushioning –
                     ins: Ultra Flex 3                          Smooth
4
5
6
7
8
9            Slip-ins: Ultra Flex 3.0 - Cozy         Slip-Ins: Ultra Flex 3.0 - Fresh
                         Streak                                   Time
10
11
12
13
14
15              Ultra Flex 3.0 - Big Plan                   Glide Step - Sparkle
16
17
18
19
20
21         16. On information and belief, Skechers sells and offers to sell the Infringing
22   Products    directly    to    consumers      through     its     e-commerce   website,
23   http://www.skechers.com, its retail stores, and through authorized retailers,
24   wholesalers, and distributors.
25         17. On information and belief, Skechers sells the Infringing Products directly
26   to customers in the United States, including in this District.
27
28                                             -6-
                                         COMPLAINT
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1          18. Skechers has infringed, and continues to infringe, the Asserted Patents by
2    making, using, selling, offering to sell, and/or importing the Infringing Products in
3    this District and elsewhere in the United States without the consent or authorization
4    of Nike.
5                           FIRST CLAIM FOR RELIEF
6        (Patent Infringement Under 35 U.S.C. § 271 of U.S. Patent No. 8,266,749)

7          19. Nike re-alleges and incorporates by reference the allegations set forth in
8    paragraphs 1–18 of this Complaint.
9          20. U.S. Patent No. 8,266,749 (the “’749 patent”) is generally directed to a
10   method of manufacturing an article of footwear with a textile element, where the
11   textile element is simultaneously knitted with a surrounding textile structure, and the
12   textile element has a knitted texture that differs from the knitted texture in the
13   surrounding textile structure.
14         21. For example, claim 1 of the ’749 patent recites:
15                 A method of manufacturing an article of footwear, the
                 method comprising:
16                 simultaneously knitting a textile element with a
17                    surrounding textile structure, the knitted textile
                      element having at least one knitted texture that differs
18                    from a knitted texture in the surrounding knitted textile
19                    structure;
                   removing the knitted textile element from the surrounding
20                    knitted textile structure;
21                 incorporating the knitted textile element into the article of
                      footwear.
22
           22. On information and belief, Skechers directly infringes at least claim 1 of
23
     the ’749 patent under at least § 271(g). For example, Skechers imports into the United
24
     States at least the Martha Stewart x Skechers Slip-ins: Ultra Flex 3, Slip-ins: Max
25
     Cushioning AF – Fluidity, Slip-ins: Arch Fit Vista – Aspiration, Slip-ins: Arch Fit
26
     Glide-Step, Slip-ins: Cessnock – Gwynedd, Slip-ins: Delson 3.0 Lavell, Slip-ins:
27
     Glide-Step Swift – Prose, Slip-Ins: GO WALK 6 – Easy On, Slip-ins: GO WALK 6
28                                          -7-
                                        COMPLAINT
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1    - Fabulous View, Slip-ins: GO WALK 6 – Lovely Day, Slip-Ins: GO WALK 6 –
2    Valentina, Slip-Ins: GO WALK Arch Fit – Simplicity, Slip-ins: Max Cushioning –
3    Advantageous, Slip-ins: Max Cushioning – Smooth, Slip-ins: On-the-Go Swift –
4    Astounding, Slip-ins: RF Bogdin – Arlett, Slip-ins: RF Reggae Fest 2.0, Slip-ins: RF:
5    Ingram – Brackett, Slip-ins: Ultra Flex 3.0 – Brilliant, Slip-ins: Ultra Flex 3.0 –
6    Colory Wild, Slip-Ins: Ultra Flex 3.0 – Cozy Streak, Slip-Ins: Ultra Flex 3.0 – Finnik,
7    Slip-ins: Ultra Flex 3.0 – Fresh Time, Slip-ins: Ultra Flex 3.0 – New Arc, Slip-ins:
8    Ultra Flex 3.0 - Pastel Clouds, Slip-ins: Ultra Flex 3.0 - Shining Glitz, Slip-ins: Ultra
9    Flex 3.0 – Smooth Step, Slip-ins: Ultra Flex 3.0 - Sparkled Stones, Slip-ins Work:
10   Ultra Flex 3.0 SR, and Slip-ins: Virtue – Divinity styles (the “’749 Infringing
11   Products”), which, as shown in greater detail in Exhibit 7 attached hereto, were
12   manufactured using a process that satisfies each and every limitation of claim 1
13   because, on information and belief, Skechers manufactures (or has manufactured for
14   it) those shoes by simultaneously knitting a textile element with a surrounding textile
15   structure, the knitted textile element having at least one knitted texture that differs
16   from a knitted texture in the surrounding knitted textile structure; removing the
17   knitted textile element from the surrounding knitted textile structure; and
18   incorporating the knitted textile element into the article of footwear.
19         23. On information and belief, the ’749 Infringing Products are not materially
20   changed by subsequent processes after importation, nor do those products become a
21   trivial or nonessential component of another product after importation.
22         24. On information and belief, Skechers has actively induced and is actively
23   inducing infringement of at least claim 1 of the ’749 patent with specific intent to
24   induce infringement, and/or willful blindness to the possibility that its acts induce
25   infringement, in violation of 35 U.S.C. § 271(b). For example, on information and
26   belief, Skechers encourages and induces its third-party manufacturer(s) to
27   manufacture or import the ’749 Infringing Products. As a further example, on
28                                            -8-
                                         COMPLAINT
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1    information and belief, Skechers also encourages and induces its authorized dealers,
2    wholesale customers, and distributor customers to import the ’749 Infringing
3    Products.
4          25. Nike has suffered, and continues to suffer, economic harm as a result of
5    Skechers’ infringing activities in an amount to be proven at trial.
6          26. Skechers’ activities have caused and will continue to cause Nike
7    irreparable injury for which there is no adequate remedy at law unless this Court
8    enjoins Skechers’ infringing activities under 35 U.S.C. § 283.
9          27. On information and belief, Skechers’ infringement of the ’749 patent will
10   continue unless enjoined by this Court.
11                         SECOND CLAIM FOR RELIEF
12      (Patent Infringement Under 35 U.S.C. § 271 of U.S. Patent No. 9,060,562)

13         28. Nike re-alleges and incorporates by reference the allegations set forth in
14   paragraphs 1–27 of this Complaint.
15         29. U.S. Patent No. 9,060,562 (the “’562 patent”) is generally directed to a
16   method of manufacturing a knitted component for an article of footwear, the method
17   including knitting an upper with an integral knit tongue during a knitting process,
18   where the integral knit tongue extends through a throat area of the knitted component.
19         30. For example, claim 1 of the ’562 patent recites:
20           A method of manufacturing a knitted component for an article of
             footwear, the method comprising:
21              knitting a portion of the knitted component defining an upper
                with a knitting machine, the upper including a portion of at
22              least one of an exterior surface of the knitted component and
                an opposite interior surface of the knitted component; and
23              knitting an integral knit tongue that is of unitary knit
                construction with the upper with the knitting machine, the
24              integral knit tongue extending through a throat area of the
                knitted component; and
25           wherein the integral knit tongue is joined by knitting with the
                knitting machine to: (1) a forward portion of the throat area,
26              and (2) at least along a portion of both of a lateral side and a
                medial side of the throat area of the knitted component
27              extending through a portion of a length of the throat area in a

28                                             -9-
                                         COMPLAINT
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1                longitudinal direction from the forward portion to an ankle
                 opening of the upper.
2
           31. On information and belief, Skechers directly infringes at least claim 1 of
3
     the ’562 patent under at least § 271(g). For example, Skechers imports into the United
4
     States at least the Skechers Slip-ins: Max Cushioning AF – Fluidity, Relaxed Fit:
5
     D'Lux Walker - Let it Glow, Skechers Slip-ins: Virtue – Divinity, Ultra Flex 3.0 - Big
6
     Plan, Arch Fit Refine – Freesia, Dynamight 2.0 - Pounce Back, Cordova Classic -
7
     Sparkling Dust, Virtue – Twilight, Ultra Flex 3.0 - Let's Dance, and Martha Stewart
8
     x Skechers Slip-ins: Ultra Flex 3 styles (the “’562 Infringing Products”), which, as
9
     shown in greater detail in Exhibit 8 attached hereto, are manufactured using a process
10
     that satisfies each and every limitation of claim 1 because, on information and belief,
11
     Skechers manufactures (or has manufactured for it) those shoes by knitting a portion
12
     of the knitted component defining an upper with a knitting machine, the upper
13
     including a portion of at least one of an exterior surface of the knitted component and
14
     an opposite interior surface of the knitted component, and knitting an integral knit
15
     tongue that is of unitary knit construction with the upper with the knitting machine,
16
     the integral knit tongue extending through a throat area of the knitted component,
17
     wherein the integral knit tongue is joined by knitting with the knitting machine to:
18
     (1) a forward portion of the throat area, and (2) at least along a portion of both of a
19
     lateral side and a medial side of the throat area of the knitted component extending
20
     through a portion of a length of the throat area in a longitudinal direction from the
21
     forward portion to an ankle opening of the upper.
22
           32. On information and belief, the ’562 Infringing Products are not materially
23
     changed by subsequent processes after importation, nor do these products become a
24
     trivial or nonessential component of another product after importation.
25
           33. On information and belief, Skechers has actively induced and is actively
26
     inducing infringement of at least claim 1 of the ’562 patent with specific intent to
27
     induce infringement, and/or willful blindness to the possibility that its acts induce
28                                          - 10 -
                                        COMPLAINT
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1    infringement, in violation of 35 U.S.C. § 271(b). For example, on information and
2    belief, Skechers encourages and induces its third-party manufacturer(s) to
3    manufacture or import the ’562 Infringing Products. As a further example, on
4    information and belief, Skechers also encourages and induces its authorized dealers,
5    wholesale customers, and distributor customers to import the ‘562 Infringing
6    Products.
7          34. Nike has suffered, and continues to suffer, economic harm as a result of
8    Skechers’ infringing activities in an amount to be proven at trial.
9          35. Skechers’ activities have caused and will continue to cause Nike
10   irreparable injury for which there is no adequate remedy at law unless this Court
11   enjoins Skechers’ infringing activities under 35 U.S.C. § 283.
12         36. On information and belief, Skechers’ infringement of the ’562 patent will
13   continue unless enjoined by this Court.
14                           THIRD CLAIM FOR RELIEF
15       (Patent Infringement Under 35 U.S.C. § 271 of U.S. Patent No. 9,510,636)

16         37. Nike re-alleges and incorporates by reference the allegations set forth in
17   paragraphs 1–36 of this Complaint.
18         38. U.S. Patent No. 9,510,636 (the “’636 patent”) is generally directed to an
19   article of footwear that incorporates a knitted component having an upper and an
20   integral knit tongue, where the integral knit tongue is formed of unitary knit
21   construction with the upper and extends through the throat area of the knitted
22   component.
23         39. For example, claim 1 of the ’636 patent recites:
                  An article of footwear having an upper and a sole structure
24
               secured to the upper, the article of footwear incorporating a
25             knitted component comprising:
                      a portion of the knitted component defining the upper,
26
                         the upper including a portion of at least one of an
27                       exterior surface of the knitted component and an
                         opposite interior surface of the knitted component,
28                                          - 11 -
                                         COMPLAINT
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1                           the interior surface defining a void for receiving a
2                           foot; and
                        an integral knit tongue formed with the upper and
3                           extending through a throat area of the knitted
4                           component; and
                        at least one raised element extending a height above the
5                           exterior surface of the knitted component,
6                       wherein the integral knit tongue is joined to a forward
                            portion of the throat area and at least along a portion
7                           of a lateral side and a medial side of the throat area
8                           of the knitted component extending from the
                            forward portion to an ankle opening of the upper.
9
           40. On information and belief, Skechers directly infringes at least claim 1 of
10
     the ’636 patent under at least § 271(a) by making, using, offering for sale, and/or
11
     selling footwear products that infringe one or more claims of the ’636 patent, literally
12
     or under the doctrine of equivalents. For example, Skechers sells at least the Skechers
13
     Relaxed Fit: D'Lux Walker - Let it Glow, Skechers Slip-ins: Virtue – Divinity, Ultra
14
     Flex 3.0 - Big Plan, Arch Fit Refine – Freesia, Dynamight 2.0 - Pounce Back, Cordova
15
     Classic - Sparkling Dust, Virtue – Twilight, Ultra Flex 3.0 - Let's Dance, and Martha
16
     Stewart x Skechers Slip-ins: Ultra Flex 3 styles (the “’636 Infringing Products”),
17
     which, as shown in greater detail in Exhibit 9 attached hereto, includes, on
18
     information and belief, an article of footwear having an upper and a sole structure
19
     secured to the upper, the article of footwear incorporating a knitted component
20
     comprising a portion of the knitted component defining the upper, the upper including
21
     a portion of at least one of an exterior surface of the knitted component and an
22
     opposite interior surface of the knitted component, the interior surface defining a void
23
     for receiving a foot, and an integral knit tongue formed with the upper and extending
24
     through a throat area of the knitted component, and at least one raised element
25
     extending a height above the exterior surface of the knitted component, wherein the
26
     integral knit tongue is joined to a forward portion of the throat area and at least along
27
28                                            - 12 -
                                         COMPLAINT
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1    a portion of a lateral side and a medial side of the throat area of the knitted component
2    extending from the forward portion to an ankle opening of the upper.
3          41. On information and belief, Skechers has actively induced and is actively
4    inducing infringement of at least claim 1 of the ’636 patent with specific intent to
5    induce infringement, and/or willful blindness to the possibility that its acts induce
6    infringement, in violation of 35 U.S.C. § 271(b). For example, on information and
7    belief, Skechers encourages and induces its authorized dealers, wholesale customers,
8    and distributor customers to sell, offer to sell, or import the ’636 Infringing Products.
9          42. Nike has suffered, and continues to suffer, economic harm as a result of
10   Skechers’ infringing activities in an amount to be proven at trial.
11         43. Skechers’ activities have caused and will continue to cause Nike
12   irreparable injury for which there is no adequate remedy at law unless this Court
13   enjoins Skechers’ infringing activities under 35 U.S.C. § 283.
14         44. On information and belief, Skechers’ infringement of the ’636 patent will
15   continue unless enjoined by this Court.
16                          FOURTH CLAIM FOR RELIEF
         (Patent Infringement Under 35 U.S.C. § 271 of U.S. Patent No. 9,730,484)
17
18         45. Nike re-alleges and incorporates by reference the allegations set forth in
19   paragraphs 1–44 of this Complaint.
20         46. U.S. Patent No. 9,730,484 (the “’484 patent”) is generally directed to an
21   article of footwear having a flat knit upper of a desired three-dimensional shape.
22         47. For example, claim 1 of the ’484 patent recites:
23                   An article of footwear comprising an upper including a
                 flat-knitted element formed from at least one yarn
24
25
26
27
28                                             - 13 -
                                         COMPLAINT
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1                mechanically manipulated in a flat-knitting process, the flat-
2                knitted element including a first layer having:
                        a central portion having a domed, three-dimensional
3                           structure configured for extending over the top of a
4                           foot;
                        a first side portion being formed of unitary construction
5                           with the central portion and extending from a first
6                           side of the central portion; and
                        a second side portion being formed of unitary
7                           construction with the central portion and extending
8                           from a second side opposite the first side of the
                            central portion, the domed, three-dimensional
9                           structure shaped to extend above the plane of the
10                          first side portion and the second side portion when
                            the flat-knitted element is in a flattened
11                          configuration.
12
13         48. On information and belief, Skechers directly infringes at least claim 1 of
14   the ’484 patent under at least § 271(a) by making, using, offering for sale, and/or
15   selling footwear products that infringe one or more claims of the ’484 patent, literally
16   or under the doctrine of equivalents. For example, Skechers sells at least the Arch Fit
17   Glide-Step, Arch Fit Glide-Step – Dazzling Step, Vapor Foam - True Classic, Ultra
18   Flex 3.0 – Let’s Dance, Skech-Lite Pro, Ultra Flex – Harmonious, Ultra Flex 3.0 –
19   Classy Charm, GO WALK Arch Fit – Crystal Waves, Skechers Ultra Flex 3.0 –
20   Wintek, Glide-Step – Sparkle, Relaxed Fit: D’Lux Walker, Arch Fit – Good
21   Vibrations, Ultra Flex 3.0 – Big Plan, Slip-ins: Ultra Flex 3.0 - Smooth Step, Martha
22   Stewart x Skechers Slip-ins: Ultra Flex 3, Slip-ins: Ultra Flex 3.0 - Cozy Streak, Slip-
23   ins: Ultra Flex 3.0 - Sparkled Stones, Slip-ins: Ultra Flex 3.0 - Shining Glitz, Slip-
24   ins: Max Cushioning – Smooth, Slip-ins: Arch Fit Glide-Step, Slip-ins: Glide-Step
25   Swift - New Thrill, Slip-Ins: Cessnock – Gwynedd, Slip-ins: GO WALK 6 –
26   Valentina, Slip-ins: Glide-Step Swift – Prose, Slip-ins: Ultra Flex 3.0 - Pastel Clouds,
27   Slip-Ins: Ultra Flex 3.0 - Fresh Time, and Slip-Ins: Ultra Flex 3.0 - Colory Wild styles
28                                           - 14 -
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1    (the “’484 Infringing Products”), which, as shown in greater detail in Exhibit 10
2    attached hereto, include, on information and belief, an article of footwear comprising
3    an upper including a flat-knitted element formed from at least one yarn mechanically
4    manipulated in a flat-knitting process, the flat-knitted element including a first layer
5    having a central portion having a domed, three-dimensional structure configured for
6    extending over the top of a foot, a first side portion being formed of unitary
7    construction with the central portion and extending from a first side of the central
8    portion, and a second side portion being formed of unitary construction with the
9    central portion and extending from a second side opposite the first side of the central
10   portion, the domed, three-dimensional structure shaped to extend above the plane of
11   the first side portion and the second side portion when the flat-knitted element is in a
12   flattened configuration.
13         49. On information and belief, Skechers has actively induced and is actively
14   inducing infringement of at least claim 1 of the ’484 patent with specific intent to
15   induce infringement, and/or willful blindness to the possibility that its acts induce
16   infringement, in violation of 35 U.S.C. § 271(b). For example, on information and
17   belief, Skechers encourages and induces its authorized dealers, wholesale customers,
18   and distributor customers to sell, offer to sell, or import the ’484 Infringing Products.
19         50. Nike has suffered, and continues to suffer, economic harm as a result of
20   Skechers’ infringing activities in an amount to be proven at trial.
21         51. Skechers’ activities have caused and will continue to cause Nike
22   irreparable injury for which there is no adequate remedy at law unless this Court
23   enjoins Skechers’ infringing activities under 35 U.S.C. § 283.
24         52. On information and belief, Skechers’ infringement of the ’484 patent will
25   continue unless enjoined by this Court.
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28                                             - 15 -
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1                            FIFTH CLAIM FOR RELIEF
2        (Patent Infringement Under 35 U.S.C. § 271 of U.S. Patent No. 9,918,511)

3          53. Nike re-alleges and incorporates by reference the allegations set forth in
4    paragraphs 1–52 of this Complaint.
5          54. U.S. Patent No. 9,918,511 (the “’511 patent”) is generally directed to an
6    upper for an article of footwear, which comprises a flat knit textile having first and
7    second knit strips that have different properties and that are positioned adjacent to
8    each other along the lateral or medial side of the upper.
9          55. For example, claim 1 of the ’511 patent recites:
10                  An upper for an article of footwear, the upper comprising:
                      a flat knit textile element comprising (1) flat knit edges
11                        free of surrounding textile structure such that the
12                        flat knit edges are not surrounded by textile
                          structure from which the textile element must be
13                        removed, at least one flat knit edge being a curved
14                        flat knit edge, and (2) a first knit strip having a first
                          property and a second knit strip having a second
15                        property that is different from the first property;
16                    wherein the first knit strip and the second knit strip are
                          positioned adjacent to each other along one or more
17
                          of a lateral side and a medial side of the upper.
18
19         56. On information and belief, Skechers directly infringes at least claim 1 of
20   the ’511 patent under at least § 271(a) by making, using, offering for sale, and/or
21   selling footwear products that infringe one or more claims of the ’511 patent, literally
22   or under the doctrine of equivalents. For example, Skechers sells at least the Arch Fit
23   Glide-Step – Dazzling Step, Martha Stewart x Skechers Slip-ins: Ultra Flex 3, Slip-
24   ins Max Cushioning AF – Fluidity, Slip-ins: Arch Fit Glide-Step, Slip-ins: Arch Fit
25   Vista – Aspiration, Slip-ins: Glide-Step Swift – Prose, Slip-ins: GO WALK 6 - Easy
26   On, Slip-ins: GO WALK 6 - Fabulous View, Slip-ins: GO WALK 6 - Lovely Day,
27   Slip-Ins: GO WALK 6 – Valentina, Slip-ins: Max Cushioning – Advantageous, Slip-
28                                            - 16 -
                                         COMPLAINT
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1    ins: Max Cushioning – Smooth, Slip-ins: On-the-Go Swift – Astounding, Slip-ins:
2    Ultra Flex 3.0 – Brilliant, Slip-ins: Ultra Flex 3.0 – Colory Wild, Slip-ins: Ultra Flex
3    3.0 - Cozy Streak, Slip-Ins: Ultra Flex 3.0 - Fresh Time, Slip-ins: Ultra Flex 3.0 -
4    Pastel Clouds, Slip-ins: Ultra Flex 3.0 - Shining Glitz, Slip-ins: Ultra Flex 3.0 -
5    Smooth Step, Slip-ins: Ultra Flex 3.0 - Sparkled Stones, Slip-ins: Virtue – Divinity,
6    Slip-ins Work: Ultra Flex 3.0 SR, Ultra Flex 3.0 – Big Plan, Ultra Flex 3.0 – Classy
7    Charm, Ultra Flex 3.0 – Wintek, Ultra Flex 3.0 – Let’s Dance, Glide Step – Sparkle,
8    and GO WALK Arch Fit - Iconic styles (the “’511 Infringing Products”), which, as
9    shown in greater detail in Exhibit 11 attached hereto, contain, on information and
10   belief, an upper for an article of footwear, the upper comprising a flat knit textile
11   element comprising (1) flat knit edges free of surrounding textile structure such that
12   the flat knit edges are not surrounded by textile structure from which the textile
13   element must be removed, at least one flat knit edge being a curved flat knit edge, and
14   (2) a first knit strip having a first property and a second knit strip having a second
15   property that is different from the first property, wherein the first knit strip and the
16   second knit strip are positioned adjacent to each other along one or more of a lateral
17   side and a medial side of the upper.
18         57. On information and belief, Skechers has actively induced and is actively
19   inducing infringement of at least claim 1 of the ’511 patent with specific intent to
20   induce infringement, and/or willful blindness to the possibility that its acts induce
21   infringement, in violation of 35 U.S.C. § 271(b). For example, on information and
22   belief, Skechers encourages and induces its authorized dealers, wholesale customers,
23   and distributor customers to sell, offer to sell, or import the ’511 Infringing Products.
24         58. Nike has suffered, and continues to suffer, economic harm as a result of
25   Skechers’ infringing activities in an amount to be proven at trial.
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28                                            - 17 -
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1          59. Skechers’ activities have caused and will continue to cause Nike
2    irreparable injury for which there is no adequate remedy at law unless this Court
3    enjoins Skechers’ infringing activities under 35 U.S.C. § 283.
4          60. On information and belief, Skechers’ infringement of the ’511 patent will
5    continue unless enjoined by this Court.
6                            SIXTH CLAIM FOR RELIEF
7        (Patent Infringement Under 35 U.S.C. § 271 of U.S. Patent No. 9,986,781)

8          61. Nike re-alleges and incorporates by reference the allegations set forth in
9    paragraphs 1–60 of this Complaint.
10         62. U.S. Patent No. 9,986,781 (the “’781 patent”) is generally directed to an
11   upper for an article of footwear, which comprises a flat knit textile element having
12   flat knit edges free of surrounding textile structure and a plurality of integrally-knit
13   ribs extending longitudinally along one or more of a lateral side and a medial side of
14   the upper.
15         63. For example, claim 1 of the ’781 patent recites:
16                An upper for an article of footwear, the upper comprising:
                   a flat knit textile element having: (1) flat knit edges free of
17                 surrounding textile structure such that the flat knit edges
18                 are not surrounded by textile structure from which the
                   textile element must be removed, and (2) a plurality of ribs
19                 integrally knitted into the flat knit textile element,
20                wherein one or more ribs extend longitudinally along one or
                   more of a lateral side and a medial side of the upper, the
21                 one or more ribs extending from the forefoot region toward
22                 the heel region and terminating in one of the midfoot region
                   or the heel region.
23
24         64. On information and belief, Skechers directly infringes at least claim 1 of

25   the ’781 patent under at least § 271(a) by making, using, offering for sale, and/or

26   selling footwear products that infringe one or more claims of the ’781 patent, literally

27   or under the doctrine of equivalents. For example, Skechers sells at least the Martha

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1    Stewart x Skechers Slip-ins: Ultra Flex 3, GO WALK Arch Fit Relaxed Fit: Arch Fit
2    D’Lux – Glimmer Dust, Slip-ins Work: Ultra Flex 3.0 SR, Slip-ins: Max Cushioning
3    – Smooth, Slip-ins: Ultra Flex 3.0 – Brilliant, Slip-Ins: Ultra Flex 3.0 - Colory Wild,
4    Slip-ins: Ultra Flex 3.0 - Cozy Streak, Slip-Ins: Ultra Flex 3.0 - Fresh Time, Slip-ins:
5    Ultra Flex 3.0 - Pastel Clouds, Slip-ins: Ultra Flex 3.0 - Shining Glitz, Slip-ins: Ultra
6    Flex 3.0 - Smooth Step, Slip-ins: Ultra Flex 3.0 - Sparkled Stones, Slip-ins: Virtue –
7    Divinity, Ultra Flex 3.0 – Big Plan styles (the “’781 Infringing Products”), which, as
8    shown in greater detail in Exhibit 12 attached hereto, contain, on information and
9    belief, an upper for an article of footwear, the upper comprising a flat knit textile
10   element, the flat knit textile element having (1) flat knit edges free of surrounding
11   textile structure such that the flat knit edges are not surrounded by textile structure
12   from which the textile element must be removed, and (2) a plurality of ribs integrally
13   knitted into the flat knit textile element, wherein one or more ribs extend
14   longitudinally along one or more of a lateral side and a medial side of the upper, the
15   one or more ribs extending from the forefoot region toward the heel region and
16   terminating in one of the midfoot region or the heel region.
17         65. On information and belief, Skechers has actively induced and is actively
18   inducing infringement of at least claim 1 of the ’781 patent with specific intent to
19   induce infringement, and/or willful blindness to the possibility that its acts induce
20   infringement, in violation of 35 U.S.C. § 271(b). For example, on information and
21   belief, Skechers encourages and induces its authorized dealers, wholesale customers,
22   and distributor customers to sell, offer to sell, or import the ’781 Infringing Products.
23         66. Nike has suffered, and continues to suffer, economic harm as a result of
24   Skechers’ infringing activities in an amount to be proven at trial.
25         67. Skechers’ activities have caused and will continue to cause Nike
26   irreparable injury for which there is no adequate remedy at law unless this Court
27   enjoins Skechers’ infringing activities under 35 U.S.C. § 283.
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1           68. On information and belief, Skechers’ infringement of the ’781 patent will
2    continue unless enjoined by this Court.
3
4                                         JURY DEMAND
5           69. Pursuant to Federal Rule of Civil Procedure 38(b), Nike hereby demands
6    a jury trial on all issues so triable in this action.
7                                    PRAYER FOR RELIEF
8
            WHEREFORE, Nike respectfully requests that this Court enter judgment
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     against Skechers and grant the following relief:
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1             A.     The entry of judgment in favor of Nike and against Skechers;
2             B.     A finding that the Skechers has infringed claims of the following U.S.
3    Patents under 35 U.S.C. § 271(a), (b), and/or (g): U.S. Patent Nos. 9,918,511;
4    9,986,781; 9,730,484; 9,510,636; 9,060,562; and 8,266,749.
5
              C.     An award of damages against Skechers adequate to compensate Nike
6
     for the infringement, but in no event less than a reasonable royalty as permitted under
7
     35 U.S.C. § 284, together with prejudgment interest and post-judgment interest and
8
     costs;
9
10            D.     A finding that Skechers’ infringement is and has been willful, and a

11   judgment that Nike is entitled to discretionary enhancement of its damages and other

12   relief as provided by 35 U.S.C. § 284.

13            E.     A permanent injunction prohibiting further infringement by Skechers,
14   and each of its subsidiaries, successors, parents, affiliates, officers, directors, agents,
15   servants, employees, and all persons in active concert or participation with it; and
16            F.     Such other relief that Nike is entitled to under law and any other and
17   further relief that this Court or a jury may deem just and proper.
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